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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

John Doe,                                    )            Civil Action No. 2:17-2671-RMG
                                             )
                      Plaintiff,             )
                                             )
       V.                                    )                         ORDER
                                             )
College of Charleston and Jane Doe,          )
                                             )
                      Defendants.            )


       This matter is before the Court on Plaintiffs motion to expedite discovery (Dkt. No. 9).

Discovery is ordinarily stayed until after the parties' Rule 26(f) conference. Plaintiff seeks an

order allowing discovery to begin immediately and requiring responses to discovery requests to be

made within fourteen days of service of the request. Plaintiff asserts this is necessary because he

needs expedited discovery to support his motion for a preliminary injunction.

       The Court previously ruled that Jane Doe need not respond to motions in this matter until

the Court rules on the College of Charleston's motion to dismiss. (Dkt No. 21.) Further, the

complaint does not pray for injunctive relief against Jane Doe. The Court therefore DENIES the

motion for expedited discovery as to Jane Doe.

       The College of Charleston has a pending motion under Rule 12(b)(6) of the Federal Rules

of Civil Procedure to dismiss Plaintiffs claim against it. The motion is short (seven pages) and

uncomplicated.    It is also the College of Charleston's response to Plaintiffs motion for a

preliminary injunction and motion for expedited discovery. (Dkt. No. 20 n.1.) After the Court,

on Plaintiffs motion, agreed to give the matter expedited consideration, Plaintiff sought an

extension of time to respond to the College of Charleston's motion, which the Court granted but

deemed to be a withdrawal of Plaintiffs request for expedited consideration. (Dkt. No. 24.) The



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Court will not grant Plaintiff expedited merits discovery before Plaintiff responds to a simple Rule

12(b)(6) motion. The Court therefore DENIES the motion for expedited discovery as to the

College of Charleston. If Plaintiffs claim against the College of Charleston survives the motion

to dismiss, Plaintiff may then propose an expedited discovery schedule in support of his motion

for a preliminary injunction.

       AND IT IS SO ORDERED.



                                                      Richard Mar      rgel
                                                      United States District Court Judge
November 2-, 2017
Charleston, South Carolina




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